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MATTHEWD_MULLER » F|LED

One Embarcadero Center

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San Francisco, CA 94126-2563 (;¢_E¢=|Kl uls, D|ST
Matt@projectjfa.org v §¢S:RN DisTRlcT R'cT ?F%RRTN|A
Pro Se DE,,uTv cLERK y ___

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFOR_NIA

UNITED STATES OF AMERICA, No. 2:15-cr-00205-TLN-EFB
Respondent,
EMERGENCY MoTroN FoR
V- DISPOSITION 0F PREvIoUS
FILINGS (vERlFIED)
MATTHEW MULLER,
Movant.

 

 

The Movant Matthew Muller respectfully requests disposition of motions filed on
December 10, 2019, and a supplement filed thereafter That supplement requested “expedited”
consideration and set forth justifying grounds. However, the clerk has advised that Movant’s
filings will not receive any type of accelerated consideration unless styled an “emergency”
motion.

Absent disposition of his previous motions, irreparable harm will accrue to Movant on
January 30, 2019. Mr. Muller currently faces charges in Solano County, California, with the
potential for imposition of multiple life sentences. As described further in a sealed Hling,

Movant’s former counsel has embargoed his client file, which contains information critical to

EMERGENCY MoTloN FOR _ 1 _

DISPOSmoN OF PREvloUS FILING United States v. Muller

 

 

 

 

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his defense in the state matter as well as to this motion. Former counsel has placed that file
outside the state court’s subpoena power by claiming it is subject to a federal protective order.
At most, such order covers only a portion of materials in the file. In any event, the terms of
the order specifically allow Mr. Muller access to the protected materials.

The motions to be considered were filed on December 10, 2018. The Respondent elected not
to file any opposition Accordingly, under Local Rules, the motions are deemed submitted as
of December 31, 2018. They are ripe for adjudication

Mr. Muller also respectfully suggests that appointment of counsel is appropriate and optimal
at this juncture. Under the unique circumstances of this case, such appointment could facilitate
a settlement of this matter. That in turn would minimize the need for further proceedings on
this motion and likely also avoid a long proceeding and trial in the event Movant’s motion to
vacate is granted.

Mr. Muller also advises that appointment of a psychiatric expert would be most efficient at
this time. Movant will shortly be undergoing examination by a University of California
professor and highly respected forensic psychiatrist, Dr. Douglas Tucker. After Mr. Muller
made a prima facie showing of a valid mental defense relating to the same matters charged in
this case, the Superior Court for Solano County allocated $27,000 for a hill expert evaluation
by Dr. Tucker. Dr. Tucker has advised that if he is engaged now, he can conduct the further
examination necessary to address issues in this motion (competency to plead guilty in
September 2016) at an additional fee of $5,500. However, if the additional matters are not
addressed in-stream with the criminal responsibility issues, it would require substantially more

time to revisit the matter.

EMERGENCY MoTIoN FoR _ 2 _

DISPOSI'HON OF PREVIOUS FILING United States v. Muller

 

 

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WHEREFORE Movant respectfully requests that the Court (1) order return of his
complete client file from former counsel in accordance with the terms of the proposed order
included in the December 10 sealed filing; (2) appoint counsel for these proceedings; (3)
allocated $5,500 for an expert examination and report, pursuant to 28 U.S.C. § 3006A. Movant

notes that he has already been granted in forma pauperis status in this proceeding

////W»_/`.

Matthew D. Muller
Pro Se

Respectfully submitted this January 21, 2019.

EMERGENCY MoTIoN FoR _ 3 _

DISPOSITION OF PREVIOUS FILING United StateS V. Muller

 

 

 

CERTIFICATE OF SERVICE

I, Huei Dai, certify that I filed the foregoing documents with the Court via mail
delivery. All other parties to this matter are registered for the electronic case
management system and will be served automatically by electronic means when

documents are scanned and filed by the Clerk.

Dated: January 22, 2019

Signed:

 

Huei Dai

 

 

November 2018

CURRICULUM VITAE
Douglas E. Tucker, M.D.
1480 Moraga Road, Suite C400 Tel: 510-496-6077
Moraga, California 94556 Fax: 510-848-8699
Email: DTuckerMD@gmail.com Languages: English, Spanish

COLLEGE EDUCATION
1976-79 Bachelor of Science, with major in Biomedical Science
University of Michigan
MEDICAL EDUCATION
1979-83 Doctor of Medicine
University of Michigan School of Medicine, Accelerated Program
PROFESSIONAL TRAINING
1983-84 Medical/Psychiatric Internship
University of California, Los Angeles Medical Center
1984-86 Residency in Psychiatry
UCLA Neuropsychiatric Institute
1986-87 Chief Residency in Consultation-Liaison Psychiatry
UCLA Neuropsychiatric Institute
1987-88 Fellowship in Consultation-Liaison Psychiatry
UCLA Neuropsychiatric Institute
1997- 98 Fellowship in Forensic Psychiatry

Rush-Presbyterian-St. Luke’s Medical Center

 

 

Douglas E. Tucker, M.D.
Page 2
RECENT HONORS/AWARDS
2006 Elected to status of Distinguished Fellow of the
American Psychiatric Association
ACADEMIC APPOINTMENTS

1988-97 Assistant Clinical Professor of Psychiatry,
University of California, Los Angeles School of Medicine

1994-97 Faculty, UCLA Forensic Psychiatry Fellowship

1997-98 Assistant Professor of Psychiatry,
Rush Medical College, Chicago

1998-2001 Assistant Clinical Professor of Psychiatry,
University of California, San Francisco School of Medicine

2000- Faculty, UCSF Forensic Psychiatry Fellowship

2001-2017 Associate Clinical Professor of Psychiatry,
University of California, San Francisco School of Medicine

2017- Clinical Professor of Psychiatry,
University of California, San Francisco School of Medicine
BOARD/SOCIETY CERTIFICATIONS
1989- Diplomate in Psychiatry, American Board of Psychiatry and Neurology

1992- Certified by examination in alcoholism and other drug dependencies
American Society of Addiction Medicine

1993- Certified in Addiction Psychiatry, American Board of Psychiatry and Neurology

1994- Certified in Forensic Psychiatry, American Board of Psychiatry and Neurology

1999-2004 Certified Medical Review Officer, Medical Review Officer Certification
Council

 

 

 

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Page 3

2009- Diplomate in Addiction Medicine, American Board of Addiction Medicine

2012- Certified Independent Practitioner, California Sex Offender Management Board
(CASOMB)

2017- Fellow, American Society of Addiction Medicine

LICENSURE

California Medical License (identification number available upon request)

U.S. Drug Enforcement Administration Controlled Substance License (identification

number available upon request)

PROFESSIONAL ACTIVITIES

1988-92

1989

1989-90

1990-97

1990-95

1991-97

1991-97

1993-97

Staf`f` Psychiatrist, Hollywood Mental Health Service,
Los Angeles County Department of Mental Health

Visiting Staf`f Psychiatrist, University of Guadalajara Civil Hospital,
Jalisco, Mexico

Attending Psychiatrist and Inpatient Unit Chief, West LA Veterans'
Administration Medical Center, Los Angeles, California

Psychiatric Consultant, Ocean Psychological Services,
Santa Monica, California

Medical Director, Dual Diagnosis Treatment Program, West Los Angeles
Veterans' Affairs Medical Center, Los Angeles, California

Psychiatric Consultant, Life Adjustment Team, Culver City, California

Associate, Psychiatric Rehabilitation Consultants, Clinical Research Center
for Schizophrenia and Psychiatric Rehabilitation, UCLA

UCLA Forensic Psychiatry Faculty Group

 

 

Douglas E. Tucker, M.D.

Page 4

1995-97

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1998-99

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1999-2009

Psychiatric Consultant, Pain Center at Cedars-Sinai Medical Center,
Beverly Hills, California

Attending/ Consultant Psychiatrist, Rosanna Forensic Psychiatry Centre,
Rosanna, Australia

Attending/ Consultant Psychiatrist, Inner South Community Mental Health
Clinic, St. Kilda, Australia

Attending/ Consultant Psychiatrist, Department of Drug and Alcohol
Studies, St. Vincent's Hospital, Melbourne, Australia

Attending Psychiatrist, Psychiatric Intensive Care Unit, West Los Angeles
Veterans Affairs Medical Center, Los Angeles, California

Independent Medical Examiner, Psychiatric Disability Consultants Inc.,
Northampton, Massachusetts

Independent Medical Examiner, Concentra Preferred Systems (previously
Managed Health Benefits), Wallingford, Connecticut

Attending Psychiatrist, Psychosocial Medicine Clinic, San Francisco
General Hospital

Attending Psychiatrist, New Leaf Treatment Center, Concord, California

Member, Forensic Mental Health Panel, Superior Court of California,
San Mateo

Member, Forensic Mental Health Panel, Superior Court of California,
San Francisco

Forensic Evaluator, California Department of Mental Health,
Sex Offender Screening and Evaluation Program

Psychiatric Consultant, Committee of Bar Examiners, State Bar of
California

Staff Physician, Rock Medicine Program, Haight Ashbury Free Clinics
Inc., San Francisco

 

 

Douglas E. Tucker, M.D.

Page 5

1999-2005

1999-2003

2000-2011

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2002-2005

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Independent Medical Examiner, Benchmark Administrative Services,
Sacramento, California

Medical Review Officer, MRO Services, Inc., San Leandro, California

Expert Medical Reviewer, Medical Board of California, Sacramento,
California

Associate Editor, California Society of Addiction Medicine Newsletter
President, Bay Area Mental Health Associates

Psychiatric Consultant, Board of Bar Examiners, Supreme Court of
Texas

Forensic Evaluator, Washington State Department of Corrections, Joint
Forensic Unit (Sexually Violent Predator Commitment Program)

Forensic Evaluator, Sexually Violent Predator Unit, King County
Prosecuting Attomeys, Washington

Psychiatric Consultant, Liberty Healthcare Corporation (clinical
management of conditionally released “Sexually Violent Predators” in
California)

Psychiatric Consultant, San Francisco Forensic Institute
(psychopharmacologic consultation regarding sexual offenders)

Contributing Author, Maintenance of Certification Examination, American
Academy of Psychiatry and the Law

Staff Psychiatrist, Crisis Intervention Team, Black Rock City Emergency
Services Department, Black Rock City, Nevada

Psychiatric Consultant, Urban Shield Medical Branch, Alameda County
Sheriffs Department, Oakland, California

 

 

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TEACHING

1989-95

1990-95

1990-95

1990-95

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1995-96

1995-96

Clinical Supervisor and Attending Physician, UCLA Medical School, 3rd
and 4th year medical student clerkships in psychiatry

Clinical Supervisor, UCLA Department of` Psychiatry Residency Education
Program, lst year resident inpatient psychiatry rotation

Lecturer, Medical student psychiatric lecture series (Clerkship PS10-16),
"Mood Disorders," Brentwood VAMC

Lecturer, UCLA Neuropsychiatric Institute Psychiatric Residency
Substance Abuse Seminar, "Sedative/Hypnotic Dependence"

Conference Director, Brentwood VAMC Dual Diagnosis Treatment
Program, Clinical Case Conference Series, Weekly presentations,
interviews, and case discussions

Faculty Advisor, UCLA Medical School, Student Affairs
Committee- Flying Samaritans

lnstructor, Clinical lnterviewing Course for 2nd Year UCLA Medical
students (Course M201)

Lecturer, UCLA-NPI Psychiatric Residency, PG-III Psychopharrnacology
Seminar, "Psychopharmacologic Management of the Dual Diagnosis
Patient"

Faculty Dissertation Advisor, Leslie Cooper, Ph.D., “The Relationship
Between Neuropsychological Functioning and Length of Abstinence in
Schizophrenic Cocaine Users,” University of` California, Los Angeles

Lecturer/ Clinical Instructor, UCLA Fellowship in Forensic Psychiatry
Clinical Supervisor, Fif`th year medical student psychiatry training

prograrn, Forensic Case Discussion Series, University of Melbourne School
of` Medicine, Melbourne, Australia

Training Supervisor, Royal Australian and New Zealand College of`
Psychiatrists

 

 

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Page 7

1997-98

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PROFESSIONAL SOCIETY MEMBERSHIPS AND AFFILIATIONS
American Academy of Forensic Sciences
American Academy of Psychiatry and the Law
American Psychiatric Association
American Society of Addiction Medicine
Association for the Treatment of Sexual Abusers
California Coalition on Sexual Offending
California Society of Addiction Medicine

Northem California Psychiatric Society

COMMITTEES/ TASK FORCES

1990-91

1992-93

1998-99

 

Clinical Instructor, Psychology Internship, Cook County Department of
Corrections

Clinical Supervisor, Psychology Internship, California School of
Professional Psychology

Lecturer/ Clinical Supervisor, UCSF Department of Psychiatry,
Residency Education Program

Faculty, UCSF Department of Psychiatry, Program in Psychiatry and the Law

Chair, Administrative Board of Investigation
West Los Angeles VA Medical Center

Substance Abuse Committee
West Los Angeles VA Medical Center

Dual Disorders Task Force
San Francisco General Hospital

 

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1998-

2000-

2001-05

2002-05

2004-

2007-

Addiction Psychiatry Committee
American Academy of Psychiatry and the Law

Sexual Offenders Committee
American Academy of Psychiatry and the Law

Forensic Sciences Committee
American Society of Addiction Medicine

Psychopharmacology Committee
American Academy of Psychiatry and the Law

Technology Committee
American Academy of Psychiatry and the Law

Peer Review of Psychiatric Testimony Committee
American Academy of Psychiatry and the Law

PUBLICATION/ JOURNAL REVIEWS

Consultant/Reviewer, "The Community Re-Entry Program: A Rehabilitation Module for
Training Community Adaptation Skills," The Social and Independent Living Skills Series,
SJ MacKain & RP Liberman, 1995

Consultant/Reviewer, “Of Psychopaths and Pendulums: Legal and Psychiatric Treatment
of Sex Offenders in the United States,” Brakel J.D. and Cavanaugh J.L., New Mexico Law
Review, Vol. 30, No. l, Winter 2000, 69-94

Consultant/Reviewer, “Just Like a Woman, RealDolls and Paraphilia,” Laslocky M.,
Salon.com Magazine, 2005

Advisor to the Paraphilias Subworkgroup of the Sexual and Gender Identity Disorders
Workgroup for DSM-5, 2012-13

Peer Reviewer/ Independent Referee for:

American Journal of Psychiatry
American Journal on Addictions
American Society of Addiction Medicine

 

 

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Page 9

Annals of Clinical Psychiatry

Annals of Internal Medicine

Behavioral Sciences & the Law

Biomed Central Psychiatry

Health Research Council of New Zealand

International Journal of Law and Psychiatry

Journal of Addiction Medicine

Journal of the American Academy of Psychiatry and the Law
Journal of Dual Diagnosis

Journal of Psychoactive Drugs

Schizophrenia Bulletin

Schizophrenia Research

The Joumal of Nervous and Mental Disease

The Journal of the American Academy of Psychiatry and the Law

PUBLICATIONS

Walker JM, Tucker DE, Coy DH, Walker BB, Akil H, "Des-Tyrosine-Dynorphin
Antagonizes Morphine Analgesia," European J. Pharm, 85 (1982), 121-122.

Tucker DE and Liberman RP, Perspectives on the Future of Psychiatry: Biobehavioral
Therapy for Dually Diagnosed Substance Abusing Schizophrenics, in Proceedl'ngs of the
Summer Courses of the Complutense Universily, Madrid, 1991.

Roberts LJ, Shaner A, Eckrnan TA, Tucker DE, Vaccaro IV, "Effectively Treating
Stimulant-Abusing Schizophrenics: Mission Impossible?" in Liberman, R. (ed.), New
Directl`ons for Mental Health Servl`ces, No. 53, Spring 1992, Jossey-Bass, Inc., 55-65.

Mendez AP, Aranguren FP, et al., eds. Universin of Guadalajara Clinician's Manual,
ed. 2, University of Guadalaj ara Press, 1993. Authored all sections on psychiatry.

Telles C, Karno M, Mintz J, Paz G, Arias M, Tucker D, Lopez S, "Immigrant Families
Coping with Schizophrenia: Behavioral Family Intervention vs. Case Management with a
Low-Income Spanish-Speaking Population," British Journal of Psychiatry (1995), vol.
167, No. 10, 473-479.

Shaner A, Eckrnan TA, Roberts LJ, Wilkins JN, Tucker DE, Tsuang JW, Mintz J,
"Disability Income, Cocaine Use and Repeated Hospitalization Among Schizophrenic
Cocaine Abusers: A Government Sponsored Revolving Door?" New England Journal of
Medicine (1995), vol. 333, No. 12, 777-783.

 

 

 

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Page 10

Wilkins J, Gorelick D, Levine D, Gold J, von Raffay V, Tucker D, Roberts L, Eckman T,
Racenstein J, Shaner A, Ashofteh A, Jerger D, Li S, "Double-Blind Trial of Desipramine
for Treatment of Cocaine Abusing Schizophrenics," NIDA Research Monograph Series
No. 153: Problems of Drug Dependence 1995, 6/95.

Shaner A, Roberts L, Eckman T, Tucker D, Tsuang J, Wilkins J, Mintz J, "Monetary
Reinforcement of Abstinence from Cocaine Among Mentally 111 Patients with Cocaine
Dependence," Psychiatric Servl`ces (1997), vol. 48, No. 6, 807-810.

Shaner A, Roberts LJ, Eckman TA, Racenstein JM, Tucker DE, Tsuang J, and Mintz J,
"Sources of Diagnostic Uncertainty for Chronically Psychotic Cocaine Abusers,"
Psychiatric Services (1998), vol. 49, No. 5, 684-690.

Cooper L, Liberman D, Tucker D, Nuechterlein K, Tsuang J, and Barnett H,
"Neurocognitive Deficits in the Dually Diagnosed with Schizophrenia and Cocaine
Abuse," Psychiatric and Rehabilitation Skills (1999), V01.3, No. 2, 231-245.

Shaner A, Tucker DE, Roberts LJ and Eckman TA, Disability Income, Cocaine

Use and Contingency Management among Cocaine Dependent Schizophrenic
Patients, in Motivating Behavior Change Among Illz'cz`t-Drug Abusers.'

Research on Contingency Management Interventions. Eds. Higgins

ST and Silverman K., American Psychological Association, Washington, D.C. (1999).

Tucker DE, Violence and Stimulant Abuse, Newsletter of the California Socier of
Addiction Medicine (2000), Vol. 27, No. 2.

Persons JB, Mennin DS, Tucker DE, Common Misconceptions about the Nature and
Treatment of Generalized Anxiety Disorder, Psychiatric Annals (2001), Vol. 31, No. 8,
5 01 -507.

Tucker DE and Recupero PR, Forensic Aspects of Addiction, Newsletter of the American
Academy of Psychiatry and the Law (2001), Vol. 26, No. 2.

Deutsch R, Tucker DE, Forensic Addiction Consultation Regarding Corporations and
Businesses, Newsletter of the California Socier of Addl'ction Medicine (2001), Vol. 27,
No. 4.

Smith DE, Glatt W, Tucker DE, Deutsch R, Seymour RB, Drug Testing in the Workplace:
Integrating Medical Review Of`ficer (MRO) Duties into Occupational Medicine Practice,
in J. Zweben (ed.), Addictions in the Workplace (2002), volume 17, no. 1.

 

Douglas E. Tucker, M.D.
Page 11

Tucker DE, Accommodations for Psychiatric Disabilities on the Bar Examination:
Perspectives from an Expert Reviewer, T he Bar Examiner (2002), Vol. 71 , No. 4, 14-19.

Tsuang JW, Eckman T, Marder S, Tucker DE, Can Risperidone Reduce Cocaine Use in
Substance Abusing Schizophrenic Patients? Journal of Clinical Psychopharmacology
(2002), Vol. 22, No. 6, 629-630

Tucker DE and Brakel SJ, Sexually Violent Predator Laws, in R. Rosner (ed.), Principles
and Practice of F orensic Psychiatry, 2nd Edition, London: Arnold, 2003.

Tucker DE, Introduction to Bioethics and Addiction Medicine, Newsletter of the
California Society of Addiction Medicine (2004), Vol. 29, No. 2.

Houts F, Taller l, Tucker D, and Berlin F, Androgen Deprivation Treatment of Sexual
Behavior. ln D. Balon (Ed.), Sexual Dysjiznction II.' Beyond the Brain-Body Connection.
Advances in Psychosomatic Medicine (2011). Basel, Karger, vol 31, 149-163.

Tucker DE and Brakel SJ, DSM-5 Paraphilic Diagnoses and SVP Law, Archives of Sexual
Behavior (2012), Vol. 41, No. 3, 533.

Sokolov G, Tucker D and HolmbergT, Assessment of Addicted Professionals. Newsletter
Of the American Academy of Psychiatry and the Law (2012), Vol. 37, No. 4.

Tucker D and Matto M, Measuring the Quiet Man: Estimating Risk of Violence, T he
Carlat Report Psychiatry (2013), Vol. l 1, No. 3, 1-3.

Beckson M and Tucker D, Commentary: Craving Diagnostic Validity in DSM-5
Substance Use Disorders, Journal of the American Academy of Psychiany and the Law
(2014), Vol. 42, 453-458.

Chandra S, Phillip S, and Tucker D, California’s New Amended CANRA: Further Erosion
of Psychotherapist-Patient Privilege, Newsletter of the American Academy of Psychiatry
and the Law (2016), Vol. 41, No. 3.

Tucker DE and Brakel SJ, Sexually Violent Predator Laws, in R. Rosner (ed.), Principles
and Practice of F orensic Psychiatry, 3rd Edl`tion, London: Arnold, 2016.

Hirschtritt ME, Tucker DE, and Binder RL, Risk Assessment of Online Child Sexual
Exploitation Offenders, Journal of the American Academy of Psychiatry and the Law (in
press).

 

 

Douglas E. Tucker, M.D.

Page 12

Winder B, Fedoroff P, Grubin D, Klapilova K, Kamenskov M, Tucker D, Basinskaya I,
Vvedensky G, The pharmacologic treatment of problematic sexual interests, paraphilic
disorders and sexual preoccupation in adult male individuals Who have committed a
sexual offence, International Review of Psychiatry (in press)

MEDIA PRESENTATIONS

1994

1999

2000

2002

2002

2006

"Introduction and Epidemiology/ Assessment/ Treatment of Dual Diagnosis
Patients," Three-part broadcast televised lecture series, produced jointly by the
University of Wollongong Graduate School of Health and Medical Sciences with
The New South Wales Education and Training Foundation, N.S.W., Australia

Media Interview: "Psychological Profiles of Mass Murderers"
ZDTV Network News (National Edition)

Media Interview: “Megan’s Law and Sexual Offender Prison Release Issues," Palo
Alto Daily News

Media Interview: “Megan’s Law and Clergy Sexual Offender Issues," San
Bernardino/ Riverside County Press Enterprise, California

Media Interview: “Child Molesters and Community Safety,” San Francisco
Chronicle

Media Interview: “Currently Available Treatment for Sex Offenders,” Munhwa
Broadcasting Corp., Seoul, South Korea

PROFESSIONAL PRESENTATIONS (SELECTED)

1989

1989

1991

"Depression in the Medically Ill," University of Guadalaj ara Civil Hospital,
Department of Internal Medicine Grand Rounds, Jalisco, Mexico

"Psychiatry in Mexico," UCLA Neuropsychiatric Institute, Transcultural and
Community Mental Health Seminar, Los Angeles

"The Future of Biobehavioral Therapy in Psychiatry," Universidad Complutense

 

 

Douglas E. Tucker, M.D.

Page 13

1992

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1997

de Madrid, Summer Courses, Madrid, Spain

"Medical Aspects of Substance Abuse," West Los Angeles VA Medical Center,
Department of Internal Medicine Grand Rounds

"Marijuana and Psychedelics," California Society of Addiction Medicine, 1992
Review Course, Long Beach, California

"Drug Dependence and Headache," UCLA School of Dentistry, Chronic Pain
Fellowship Seminar Series in Complex Headache, Los Angeles

"Forensic Aspects of Substance Abuse," UCLA Neuropsychiatric lnstitute,
Forensic Psychiatry Fellowship Core Curriculum Lectures, Los Angeles

"Dual Diagnosis: Assessment and Treatment of People With Serious Mental Illness
and Problematic Substance Use," University of Wollongong Postgraduate Mental
Health Workshop Series, Sydney, Australia

"Amphetamine Psychosis," National Psychiatric Institute of Shimohusa, Invited
Lecture, Chiba, Japan

"Neuroscience of Comorbid Alcoholism and Mental Disorder," National Institute
on Alcoholism, Kurihama National Hospital, Kanagawa, Japan

"Sources of Diagnostic Uncertainty among Chronically Psychotic Cocaine
Abusers," Poster presented at the 29th Annual Meeting of the Association for the
Advancement of Behavior Therapy, Washington D.C., by A Shaner, JM
Racenstein, LJ Roberts, TA Eckman, JW Tsuang, and DE Tucker

"Research Issues in Comorbid Mental Illness and Substance Abuse," University of
Auckland School of Medicine, Department of Psychiatry, Auckland, New Zealand

“Substance Abuse and Coexisting Psychiatric Syndromes,” Institute of Mental
Health, Singapore

“Prevention, Detection, and Treatment of Substance Abuse in the Legal
Profession,” Century City Bar Association MCLE Program, Los Angeles

“Addiction Medicine for Forensic Psychiatrists,” Panel Presentation of the
Addiction Psychiatry Committee, American Academy of Psychiatry and the Law,
Annual Meeting, Denver

 

 

Douglas E. Tucker, M.D.

Page 14

1997

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2001

“Corrections in Forensic Psychiatry Residencies,” Workshop Presentation,
American Academy of Psychiatry and the Law, Annual Meeting, Denver

“Post Traumatic Stress Disorder and Substance Abuse,” Trauma Seminar, San
Francisco General Hospital, San Francisco

"Substance~lnduced Psychotic Disorder and Intoxication Defenses," California
Attorneys for Criminal Justice/ California Public Defenders Association: Capital
Case Defense Seminar, Monterey, California

"Bipolar Spectrum Disorders," Residency Training Core Curriculum Series,
Department of Psychiatry, University of California San Francisco School of
Medicine

"Pharmacologic Treatment of Personality Disorders," Residency Training Core
Curriculum Series, Department of Psychiatry, University of California San
Francisco School of Medicine

"Biological Treatments for Sexual Offenders," California Coalition on Sexual
Offending, Bay Area Network Lecture Series, San Leandro, California

“Substance-Induced Psychotic Disorder,” Residency Training Core
Curriculum Series, Department of Psychiatry, University of California San
Francisco School of Medicine

“Medication Treatment of Sexual Offenders,” California Sexual Assault
Investigators Association/ California Coalition on Sexual Offending, 3rd Annual
Training and Treatment Conference, Berkeley, California

“Mental Disorder and Sexual Homicide,” Office of the State Public Defender, San
Francisco, California (videoconferenced to Sacramento)

“Medical Aspects of Substance Abuse,” Drug Enforcement Administration, San
Francisco Field Division, Demand Reduction Seminar, Sacramento, California

“Drug and Alcohol-Related Violence,” Public Defenders’ Office, Contra Costa
County, Martinez, California

“Forensic Aspects of Impulse Control Disorders and Behavioral Addictions,”

 

 

Douglas E. Tucker, M.D.

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2001

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2005

American Academy of Psychiatry and the Law, Annual Meeting, Boston

“Drug Abuse in the Workplace,” 33rd Annual Medical-Scientific Conference,
American Society of Addiction Medicine, Atlanta

“Medicolegal Aspects of Club Drugs,” 33rd Annual Medical-Scientific Conference,
American Society of Addiction Medicine, Atlanta

“Forensic Considerations With Ecstasy and Ketarnine,” Forensic Issues in
Addiction Medicine Workshop, American Society of Addiction Medicine,
Washington, D.C.

“Accommodating Bar Examination Applicants With Psychiatric or Psychological
Disorders,” Council of Bar Admission Administrators, National Conference of Bar
Examiners, San Francisco

“Neuropsychological Testing in Forensic Addiction Medicine - Case Analyses,”
Forensic Issues in Addiction Medicine Workshop, American Society of Addiction
Medicine, Washington, D.C.

“Addiction Issues in Death Penalty Cases,” Meeting of the Santa Clara County
Society of Psychiatric Physicians, Los Gatos, California

“Conditional Admission and Attorney Mental Health/ Substance Abuse,” National
Conference of Bar Examiners, Bar Admissions Seminar, New Orleans

“Psychiatric Injury and Disability,” Archer Norris PLC, MCLE Seminar Series,
Walnut Creek, California

“Psychopharmacology of Sexual Behavior Disorders,” American Academy of
Psychiatry and the Law, Annual Meeting, Scottsdale, Arizona

“Forensic Aspects of Intoxication and Violence,” California Society of Addiction
Medicine, Continuing Education Program, Oakland, California

“Body Fluid/Tissue Drug Level Interpretation in Forensic Cases,” American
Society of Addiction Medicine, Annual Course in Forensic Issues, Washington DC

“Substance Abuse and Recovery in Professionals,” National Organization of` Bar
Counsel, Mid-Year Meeting, Salt Lake City, Utah

 

 

Douglas E. Tucker, M.D.

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2005

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2007

“Medical Assessment and Treatment of Sexual Offenders,” Forensic Mental
Health Association of California, 30th Annual Conference, Seaside, California

“DUI Mock Trial,” Claims Conference of Northern California, Oakland, California

“Clinical and Legal Management of Dangerous Serial Offenders in Canada and the
United States,” American Academy of Psychiatry and the Law, Annual Meeting,
Montreal, Canada

“Psychiatric Aspects of Arson,” Forensic Sciences Program, Head-Royce School,
Oakland, California

“Substance Use in the Real World,” UCSF School of Medicine, Fourth year
medical student elective, San Francisco

“Biological Treatments for Sexual Offenders,” California Coalition on Sexual
Offending, Ninth Annual Training Conference, San Mateo, California

Las Tecnologias Sexuales A Principios De1 Siglo 21, Poster Presentation, Sociedad
Mexicana de Geografia y Estadisticas en Zamora, Zamora, Michoacan, Mexico

“Outpatient Management of the Sexually Violent Predator,” American Academy
of Psychiatry and the Law, Annual Meeting, Chicago

“Theory of Mind Model of Capgras Delusion and Violence,” Poster Presentation,
American Academy of Psychiatry and the Law, Annual Meeting, Chicago

“Sexually Violent Predator LaW and Treatment,” Mental Health LaW Program,
Hastings College of the Law, San Francisco

“Neurobiology of Sexual Behavior Disorders,” California Coalition on Sexual
Offending, San Leandro

“Peer Review of Benzodiazepine and Alcohol Withdrawal-Related Violence,”
American Academy of Psychiatry and the Law, Annual Meeting, Miami

“Actuarial Risk Estimation of Future Criminal Behavior - General, Violent, and
Sexual,” American Academy of Psychiatry and the LaW, Annual Meeting, Miami

“Introduction for Attorneys to Mental Health Issues and the DSM,” State Bar of
California, Office of the Chief Trial Counsel, San Francisco

 

 

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2008

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“Legal and Clinical Aspects of Sexually Violent Predator Evaluations,” Mental
Health Law Program, Hastings College of the Law, San Francisco

“Phenomenology and Treatment of Sexual Offending Behavior,” Forensic
Sciences Program, Head-Royce School, Oakland, California

“The Containment Model - A Multidisciplinary Approach to the Community
Treatment of Sexual Offenders,” California Coalition on Sexual Offending,
Eleventh Annual Training Conference, Millbrae, California

“Men Who Sexually Attack Their Mothers,” American Academy of Psychiatry and
the Law, Annual Meeting, Seattle

“Diagnostic Issues in a Historical Case of Lycanthropy and Serial Murder,”
American Academy of Psychiatry and the Law, Annual Meeting, Seattle

“Deconstructing Pornography,” American Academy of Psychiatry and the Law,
Annual Meeting, Seattle

“Assessment and Hormonal Treatment of Sexual Offenders,” American Academy
of Psychiatry and the Law, Annual Meeting, Seattle

“Criminal Law and the Addictions,” Contra Costa County Bar Association, Annual
MCLE Conference, Walnut Creek, California

“Assessment and Management of a Complex Case Involving Pedophilia, Bipolar
Disorder, Personality Disorder, and AIDS,” UCSF Langley Porter Psychiatric
Hospital & Clinics, Clinical Case Conference Series, San Francisco

“Neurobiology, Violence and Criminal Responsibility with Cannabis Use,”
American Academy of Psychiatry and the Law, Annual Meeting, Baltimore

“Asian Culture, Pathological Social Withdrawal, and Hikikomori,” American
Academy of Psychiatry and the Law, Annual Meeting, Baltimore

“A Psychiatric-Legal Analysis of a Case of Lycanthropy in a 19th Century Serial
Ki11er,” Forensic Mental Health Association of California, Annual Conference,
Seaside, California

“Panel Debate on Proposed Diagnostic Criteria for DSM-S Psychosexual

 

 

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2014

Disorders,” American Academy of Psychiatry and the Law, Annual Meeting,
Tucson, Arizona

“Substance-Induced Psychoses: Intoxication, Insanity and Interventions,”
American Academy of Psychiatry and the Law, Annual Meeting, Tucson, Arizona

“Behavioral Genetics and Forensic Psychiatry,” Forensic Sciences Program, Head-
Royce School, Oakland, California

“Assessment of Sexual Behavior Disturbance in a Maximum Security Prison,”
San Quentin State Prison, California

"Assessment and Treatment of Sexual Behavior Disorders," Department of
Psychiatry Grand Rounds, Langley Porter Psychiatric Institute, UCSF School of
Medicine, San Francisco

"Biological Treatment for Sexual Offenders,” Sharper Future Program, San
Francisco

“Substance Abuse, Brain Chemistry and Crime,” Forensic Sciences Program,
Head-Royce School, Oakland, California

"Impaired Attorneys: Consultation with the California Bar Association," American
Academy of Psychiatry and the Law, Annual Meeting, Montreal, Canada

"Clinical and Legal Aspects of Methamphetamine Psychosis," Capital Case
Defense Seminar, California Attorneys for Criminal Justice/ California Public
Defenders Association, Monterey, California

“Substance Abuse and Psychiatric Issues in Capital Cases," Death Penalty College,
University of Santa Clara Law School, San Jose, California

"Legal and Forensic Issues of Medical Marijuana," American Academy of
Psychiatry and the Law, Annual Meeting, San Diego, California

"Mock Trial Expert Witness Presentation," Constitutional Rights Foundation,
California High School Mock Trial Competition, El Cerrito High School, E1
Cerrito, California

“Psychopharmacology of Paraphilic Disorders," Nevada Psychiatric Association,
19th Annual Psychopharmacology Update, Las Vegas, Nevada

 

 

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2014

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2018

"Medical Marijuana and the Doctor-Patient Relationship," Testimony before the
California Senate Business and Professions Committee re: Senate Bi11 1262,
Sacramento, California

“Substance Abuse and Psychiatric Issues in Capital Cases," American Psychology-
LaW Society, Annual Conference, San Diego, California

"Case of Double Homicide With Frontotemporal Dementia," Peer Review
Committee, American Academy of Psychiatry and the Law, Annual Meeting, Fort
Lauderdale, Florida

“Molecular Genetic Evidence in Criminal Cases,” Forensic Sciences Program,
Head-Royce School, Oakland, California

“Substance Abuse and Psychiatric Issues in Criminal Cases,” 16th Annual Public
Defender Retreat, Las Vegas, Nevada

“Substance Abuse and Mental Health Issues for Lawyers in the Modern
Economy,” In-House Counsel for Square Inc., San Francisco

“Behavioral Genetics and Violence,” Forensic Sciences Program, Head-Royce
School, Oakland, California

“Consultation to the State Bar of California,” State Bar of California Committee of
Bar Examiners, San Francisco

“Clinical and Forensic Practice: Approach to Sexual Behavior Disorders,” Invited
Speaker to International Training Course, National Institute of Mental Health,
Prague, Czech Republic

“Disaster Mental Health Response,” Urban Shield Medical Branch, Alameda
County Sherif`f’s Department, Oakland, California

“Sexually Violent Predator Laws: 20 Years Later,” American Academy of
Psychiatry and the Law, Annual Meeting, Denver, Colorado

“Child Pornography: Legal and Clinical Issues,” Department of Psychiatry Grand
Rounds, Langley Porter Psychiatric Institute, UCSF School of Medicine, San
Francisco

 

 

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2018 “Peer Review of Sanity Assessments in High Profile Cases: The American Sniper
Tragedy,” American Academy of Psychiatry and the Law, Annual Meeting,
Austin, Texas

2018 “The Relationship Between Child Pornography and Contact Offending,” American
Academy of Psychiatry and the Law, Annual Meeting, Austin, Texas

2018 “Child Pornography: Legal and Clinical Issues,” UCSF Dept. of Psychiatry Grand
Rounds

 

 

